        Case 2:10-cr-00585-JCM-BNW              Document 62          Filed 07/15/11       Page 1 of 1

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 6                               UNITED STATES DISTRICT CO URT
                                      BISTRICT OF NEVADA
 7
     UNITED STATESOFAMERICA,                             )
 8                                                       )
                            Plaintiff,                   )
 9           v.                                          )
                                                         )           2:10-CR-585-RLH (PAL)                   '
10 TARI-IAIN W OODS,a/lt/aGBoochie'',                    )
                                                         )                                                   I
11                          Defendant.                   )
12                                       ORDEROFFORFEITURE                                                   j
l3          Thi                                                                                              i
              sCourtfound on June 10,20l1,thatTARHAIN W OODS,a/ldaçtBoochie'',shallpay a                     i
                                                                                                             (
14 criminalforfeituremoneyjudgmentof$5,020.00inUnited Stm esCurrency,pursuantto Fed.R.                       I
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15 Crim.P.32.2(b)(l)and (2))Title21,United StatesCode,Section853(a)(1);andTitle21,United                     j
16 StatesCode,Section 853(p).Docket#56.                                                                      !
17          THEREFORE                                                                                        i
                        ,   IT IS H EREBY ORD ERED,AD JUD G ED ,AN D DECREED thattheU nited                  I

18 Statesrecoverfrom TARHAIN W OODS,a/lk/atçBoochie'',acriminalforfeituremoneyjudgment
19 intheamountof$5,020.00inUnitedStatesCurrencypursuanttoFed.R.Crim,P.32.2(b)(4)(A)and
20 (B);Title21,United StatesCode,Section 853(a)(l);and Title 21,United StatesCode,Section
21 85341$.
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